 EXHIBIT D




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  1         IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MISSOURI
  2                     WESTERN DIVISION
  3    K.C. HOPPS, LTD.,
  4                      Plaintiff,
  5                  vs.               Case No. 4:20-cv-00437-SRB
  6    THE CINCINNATI INSURANCE
       COMPANY, INC.,
  7
                         Defendant.
  8
  9                        AUDIO TRANSCRIPTION
                     30(b)(6) DEPOSITION OF TONY HENN
 10                 Taken on behalf of the Plaintiff
 11                          June 15, 2021
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  1              Q      Did you speak -- did you talk about
  2      anything else other than the virus exclusion in
  3      the state of Massachusetts?
  4              A      No.
  5              Q      And what did Mr. Huberty have to say
  6      about the virus exclusion in the state of
  7      Massachusetts?
  8              A      Well, he just filled me in on current
  9      circumstances with the virus exclusion in the
 10      state of Massachusetts.
 11              Q      And did he -- specifically why
 12      Cincinnati includes a virus exclusion in policies
 13      it writes on property in the state of
 14      Massachusetts?
 15              A      Yes.
 16              Q      And what did he tell you is the reason
 17      why Cincinnati includes virus exclusions in
 18      commercial property policies it writes in the
 19      state of Massachusetts?
 20              A      Well, this is a bit of a story.           So
 21      the state of Massachusetts was an inactive state.
 22              Q      Excuse me, was an active or an
 23      inactive state?
 24              A      It was an inactive state for us.           And
 25      as an inactive state, we have ISO file on our



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  1      it fair to say?
  2                          MR. LITCHFIELD:      Objection, form.
  3              Q      (By Mr. Shank) If you know.
  4              A      I don't know specifically when we were
  5      active of it in the state, but it would have been
  6      at least 2018 and possibly not until later.
  7              Q      Before Cincinnati -- excuse me.
  8              Before Massachusetts became an active
  9      state for Cincinnati, Cincinnati included a virus
 10      exclusion in commercial property policies it
 11      wrote for properties located in Massachusetts; is
 12      that right?
 13              A      That would be correct.
 14              Q      And after Massachusetts became an
 15      active state, Cincinnati continued to include the
 16      virus exclusion in policies covering property
 17      headquartered in Massachusetts; is that correct?
 18              A      Due to an analyst's mistake, yes.
 19              Q      Does Cincinnati still include a virus
 20      exclusion in policies it writes for properties
 21      located in Massachusetts?
 22              A      It does.
 23              Q      So to this day Cincinnati continues to
 24      include a virus exclusion in policies covering
 25      property located in Massachusetts?



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  1      supplementation that Cincinnati intends to make at
  2      this time?
  3                           MR. LITCHFIELD:     It is.
  4               Q     (By Mr. Shank) Mr. Henn, did you
  5      review any other documents in preparation for
  6      topic numbers 14 and 15 today besides this
  7      Interrogatory response?
  8               A     No.   Oh, I apologize.       That's not
  9      correct.     I did look at the email -- well, that
 10      would have been part of the Interrogatory, so
 11      yeah, those two things, this document and that
 12      email.
 13               Q     Right, okay, yeah.       And I understand
 14      what your -- what you mean, and we'll look at that
 15      email here, here shortly.
 16               So, so just to be clear, so in preparation
 17      for topic numbers 14 and 15 having to do with
 18      Cincinnati's consideration of the 2006 ISO virus
 19      exclusion or any other virus exclusion, you
 20      reviewed this supplemental Interrogatory response
 21      and a September 22nd, 2006, email, and that's it?
 22               A     That's correct.
 23               Q     So let's look at this Interrogatory.
 24      So Supplemental Interrogatory No. 6, State whether
 25      you considered, evaluated or investigated whether



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  1      to alter, amend, or otherwise change the language
  2      of the policy to include an exclusion of, or other
  3      limitation to, coverage for losses related to
  4      viruses or pandemics, whether by endorsement or
  5      otherwise, at any time from 2006 through the
  6      present.
  7              Did I read that correctly?
  8              A      Yes.
  9              Q      And you understand that when it says
 10      state whether you considered, you means Cincinnati
 11      Insurance Company?
 12                          MR. LITCHFIELD:      Objection, form.
 13              A      Yes.
 14              Q      (By Mr. Litchfield) So I want to
 15      scroll down to the bottom here.          Cincinnati, you
 16      see where it says, this last paragraph,
 17      Cincinnati identifies the following as higher
 18      level employees who may have knowledge about the
 19      foregoing matters.       And then there are five
 20      bullet points.
 21              Do you see that?
 22              A      Yes.
 23              Q      And there are five names?
 24              A      Yes.
 25              Q      And we've already talked about the



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  1      first two.     You testified earlier that you spoke
  2      with Tim Schmittou as well as Tom Huberty in
  3      preparation for your deposition today, right?
  4              A      Correct.
  5              Q      The bullet point, David Groff,
  6      director of commercial lines product.
  7              Do you see that?
  8              A      I do.
  9              Q      Do you know Mr. Groff?
 10              A      I do.
 11              Q      Did you speak with him in preparation
 12      for your deposition today?
 13              A      I did not.
 14              Q      The fourth bullet point, Sean Givler,
 15      commercial lines administration, do you see that?
 16              A      I do.
 17              Q      Do you know Mr. Givler?
 18              A      I do.
 19              Q      And did you speak with Mr. Givler in
 20      preparation for your deposition today?
 21              A      I did not.
 22              Q      The fifth bullet point, Steve Spray,
 23      chief insurance officer, hyphen, property casualty
 24      insurance, did you speak with Mr. Spray -- or
 25      excuse me.



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  1              First of all, do you know Mr. Spray?
  2              A      I do.
  3              Q      And did you speak with Mr. Spray in
  4      preparation for your deposition today?
  5              A      I did not.
  6              Q      So I think we've covered who you've
  7      spoken -- who you spoke to and what documents
  8      reviewed -- you reviewed from preparation for
  9      topic -- topics numbers 14 and 15.           One final
 10      question on this.
 11              Other than the review of the two documents
 12      that you identify and the discussions with
 13      Mr. Schmittou and Mr. Huberty, did you do
 14      anything else in preparation for your testimony
 15      on behalf of Cincinnati today in connection with
 16      topics 14 and 15?
 17              A      I did not.
 18              Q      Why don't we take a quick break.
 19      We've gone about 45 minutes, and we're about to
 20      get into a new topic.        So let's go off the record
 21      if that's all right.
 22                          MR. LITCHFIELD:      Okay.
 23                          THE WITNESS:      Dan, you're on mute.
 24                          MR. LITCHFIELD:      Working mistake.
 25      How long a break are you looking at so I can be



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  1              Do you see that?
  2              A      I do.
  3              Q      And Cincinnati states that, Subject to
  4      its objections, Cincinnati states that it has
  5      considered or evaluated whether to generally add
  6      the 2006 ISO virus exclusion to its commercial
  7      property policies.
  8              Did I read that correctly?
  9              A      Yes.
 10              Q      And there are three subparagraphs.
 11      Subparagraph A says this happened in 2006.
 12      Subparagraph B, A consideration or evaluation was
 13      made by Tim Schmittou, commercial lines product
 14      director.
 15              And then subparagraph C, This
 16      consideration or evaluation is reflected in a
 17      September 22nd, 2006, email from Mr. Schmittou,
 18      which is being produced with this supplemental
 19      answer.
 20              Did I read all of that correctly?
 21              A      Yes.
 22              Q      So let's walk through this.          So
 23      Cincinnati states that it considered or evaluated
 24      whether to add the virus exclusion, the ISO virus
 25      exclusion, in 2006, right?



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  1              A      Correct.
  2              Q      Did Cincinnati consider or evaluate
  3      whether to add any other virus exclusion to its
  4      commercial property policies at any time?
  5              A      I believe the supplemental answer is
  6      our official position.        It's our answer.
  7              Q      I guess I'm just asking you.          Other
  8      than the ISO virus exclusion, the 2006 ISO virus
  9      exclusion --
 10              A      Okay.
 11              Q      -- did Cincinnati consider or evaluate
 12      whether to add any other type of virus exclusion
 13      to its commercial property policies?
 14              A      Not to my knowledge.
 15              Q      Did Cincinnati consider or evaluate
 16      whether to add a 2006 ISO virus exclusion at any
 17      time other than in 2006?
 18              A      Not to my knowledge.
 19              Q      Has Cincinnati considered or evaluated
 20      whether to add the ISO virus exclusion since the
 21      onset of the COVID-19 pandemic?
 22              A      Not to my knowledge.
 23              Q      And what have you done to investigate
 24      whether Cincinnati has considered or evaluated
 25      whether to add an ISO virus exclusion to its



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  1      commercial property policies after the onset of
  2      the COVID-19 pandemic?
  3              A      I have not done any additional
  4      investigation.
  5              Q      I guess what are you basing your email
  6      that Cincinnati has not considered or evaluated
  7      whether to add the 2006 virus exclusion to its
  8      policies after the onset of the COVID-19 pandemic?
  9      What are you basing that statement on?
 10              A      We don't consider virus to be a
 11      covered cause of loss, so there's really no need
 12      to add an exclusion.
 13              Q      Have you talked to anyone who told you
 14      that Cincinnati has not evaluated whether to add a
 15      virus exclusion to its policies post-COVID-19?
 16              A      I would say same answer.         We don't
 17      believe virus exclusion is necessary because the
 18      virus is not a covered cause of loss.
 19              Q      So no one at Cincinnati has sent an
 20      email after the onset of the COVID-19 pandemic
 21      saying, hey, do we need to take another look at
 22      whether we need to add a virus exclusion?
 23              A      Not to my knowledge.
 24              Q      Are you aware that other property
 25      insurance companies have added virus exclusions to



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  1      their policies after the onset of the COVID-19
  2      pandemic?
  3              A      I'm aware other carriers had
  4      exclusions.     As to when they decided or started to
  5      do so, I don't know.
  6              Q      Sorry, could you, could you repeat
  7      that?   You broke up on me there.
  8              A      Okay.    I'm aware that other carriers
  9      do use virus exclusions.         As to when they started
 10      doing so, I don't know.
 11              Q      Okay.    So you're not aware that other
 12      property insurance companies have added virus
 13      exclusions since the onset of the COVID-19
 14      pandemic?
 15                          MR. LITCHFIELD:      Objection, form.
 16              Q      (By Mr. Shank) That's not something
 17      you're aware of one way or the other?
 18              A      Not specifically, no.
 19              Q      Has anyone on Cincinnati's behalf
 20      evaluated whether to add a 2006 ISO virus
 21      exclusion to its commercial property policies at
 22      any time?
 23                          MR. LITCHFIELD:      And Mr. Henn, you
 24      can answer, but I'd admonish you, don't refer to
 25      any discussions you're aware of involving counsel.



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  1              A      Could you, could you restate the
  2      question?     I'm not sure I'm following it.
  3              Q      (By Mr. Shank) Sure.        So I just want,
  4      I guess, just to explain.         I'm curious if any --
  5      anybody on Cincinnati's behalf, so any
  6      non-Cincinnati employee, but some other person
  7      that Cincinnati has retained, has any such person
  8      evaluated or considered whether to add a virus
  9      exclusion to its commercial property policies at
 10      any time?
 11              A      I'm not aware of that, no.
 12              Q      Has Cincinnati retained any attorney,
 13      whether in-house counsel or outside counsel, to
 14      assess whether to add a virus exclusion to
 15      commercial property policies at any time?
 16                          MR. LITCHFIELD:      Objection, and
 17      I'll instruct you not to answer that.
 18              Q      (By Mr. Shank) Are you going to
 19      follow your counsel's advice, Mr. Henn?
 20              A      I am.
 21                          MR. LITCHFIELD:      I will permit one
 22      question, though, counsel if it's helpful, which
 23      is whether he has any knowledge about such a
 24      retention.
 25              A      I do not.



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  1              Q      (By Mr. Shank) So you do not -- you
  2      do not know whether Cincinnati has retained
  3      attorneys to evaluate whether to add a virus
  4      exclusion to Cincinnati's commercial property
  5      policies?
  6              A      Correct.
  7              Q      Did you conduct any investigation in
  8      preparation for your deposition today to determine
  9      whether Cincinnati has at any time retained an
 10      attorney or attorneys to investigate whether to
 11      add a virus exclusion to Cincinnati's commercial
 12      property policy?
 13              A      First can you restate that?          I just --
 14      you're fading in and out on my sound.
 15              Q      Sorry.    I'll try to speak more
 16      clearly.
 17              So did you undertake any investigation in
 18      preparation for your deposition today to
 19      determine whether Cincinnati hired attorneys at
 20      any time to evaluate whether to add a virus
 21      exclusion to Cincinnati's commercial property
 22      policies?
 23              A      No.
 24              Q      Why not?
 25              A      I didn't think it was relevant.



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  1              A      ISO.
  2                          MR. LITCHFIELD:      Object to form.
  3              A      ISO.    They're -- they are an
  4      aggregator, I guess would be my explanation of
  5      what they are, aggregator of data.
  6              Q      (By Mr. Shank) They're an aggregator
  7      of data.    What does that mean?
  8              A      Amongst other things.
  9              Q      Okay.    So what other things?
 10              A      Well, obviously they do -- they also
 11      do forms.    They act as an advisory on forms.
 12              Q      When you say they're an aggregator,
 13      what do you mean by that?
 14              A      Well, what I mean is insurance
 15      companies that work with ISO will provide them
 16      with, with data.       ISO takes that for all insurance
 17      companies that they work with, and they promulgate
 18      loss costs and such things.
 19              Q      So is it the correct terminology to
 20      say that Cincinnati Insurance Company is a member
 21      of ISO?
 22                          MR. LITCHFIELD:      Objection, form.
 23              A      We do have a contract with ISO.
 24              Q      (By Mr. Shank) So does, does
 25      Cincinnati pay money to ISO to take advantage of



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  1      its services?
  2              A      Yes.
  3              Q      Does Cincinnati have any
  4      representative on any boards or groups in ISO?
  5                          MR. LITCHFIELD:      Objection, form.
  6              A      I know from my time in product
  7      management group that we -- we do have some folks
  8      that participate or did participate on some of
  9      their boards, some of their coverage, you know,
 10      groups I guess.       I don't know what they call them
 11      actually.
 12              Q      (By Mr. Shank) And what do those
 13      folks do generally speaking on those ISO boards?
 14                          MR. LITCHFIELD:      Objection, form.
 15              A      They're generally, they're just in the
 16      capacity, at least our folks, in the capacity just
 17      to hear out what is going on in the industry,
 18      what, you know, what kind of things are coming
 19      down the pipe, so to speak.
 20              Q      (By Mr. Shank) And so would you,
 21      would you expect a Cincinnati employee who's on
 22      an ISO board to relay what's going on at ISO back
 23      to the company?
 24                          MR. LITCHFIELD:      Objection, form.
 25              A      Not necessarily.



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  1              Q      (By Mr. Shank) Why not?
  2              A      It just depends if it's something
  3      that, that they feel is relevant to our operation.
  4              Q      Right.    So if they came across
  5      something in their capacity with ISO that that
  6      individual believed might be significant to
  7      Cincinnati, Cincinnati would expect that person to
  8      convey that to the company?
  9                            MR. LITCHFIELD:    Objection, form.
 10              A      Yes.
 11              Q      (By Mr. Shank) Are you familiar with
 12      a former Cincinnati Insurance Company employee
 13      named Tad Bunnell?
 14              A      I do, yes.     I do remember Tad.
 15              Q      Who is Mr. Bunnell?
 16              A      He used to work in our research and
 17      development department, which is no longer in
 18      existence.
 19              Q      What did the research and development
 20      department do while it was in existence?
 21              A      They researched and developed new
 22      coverages, new, new forms, et cetera.
 23              Q      Are you aware that Mr. Bunnell was
 24      part of ISO's commercial property coverage group
 25      in --



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  1                            MR. LITCHFIELD:    Objection, form.
  2              A      I do remember that he was part of that
  3      back, back in the day.
  4              Q      (By Mr. Shank) Let me -- I don't
  5      think I got my question out.
  6              Are you aware that Mr. Bunnell was a
  7      member of ISO's commercial property group in 2006
  8      when ISO was considering the virus exclusion?
  9                            MR. LITCHFIELD:    Objection, form.
 10              A      Yes.
 11              Q      (By Mr. Shank) Did Mr. Bunnell
 12      discuss with Cincinnati what ISO -- ISO's
 13      conclusions were and recommendations were with
 14      respect to the virus exclusion?
 15                           MR. LITCHFIELD:     Objection, form.
 16              A      Cincinnati Insurance Company has no
 17      knowledge of that, no.
 18              Q      (By Mr. Shank) Have you undertaken to
 19      investigate what Mr. Bunnell may have conveyed to
 20      Cincinnati about the ISO virus exclusion?
 21                           MR. LITCHFIELD:     Objection, form.
 22              A      No.
 23              Q      (By Mr. Shank) Why not?
 24              A      Because I assumed it was part of the
 25      larger search for anything related to the virus,



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  1      which produced the email that we were talking
  2      about earlier.
  3              Q      Does Cincinnati possess any
  4      information about what Mr. Bunnell may have
  5      relayed to Cincinnati about ISO's view of the
  6      virus exclusion?
  7              A      No.
  8              Q      Was Mr. Bunnell involved in
  9      Cincinnati's decision about whether to add the ISO
 10      virus exclusion to its policies?
 11              A      No.
 12              Q      Why not?
 13              A      That wasn't his job responsibility.
 14              Q      So whether or not to add new policy
 15      forms like the then new ISO virus exclusion was
 16      not within the purview of the R&D department?
 17              A      No.
 18              Q      That was the sole responsibility Mr.
 19      Schmittou?
 20              A      Okay, would you clarify?         Are you
 21      asking -- well, what exactly are you asking?
 22              Q      Well, you just testified that it was
 23      not the R&D development -- it was not the R&D
 24      development department's responsibility to assess
 25      whether to add a new exclusion like the virus



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